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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                 :
                                                         :
                                                         :
               v.                                        :       Case No. 21-CR-359 (DLF)
                                                         :
TRAVIS DELONTE HANEY,                                    :
                                                         :
                      Defendant.                         :


                 GOVERNMENT=S MEMORANDUM IN SUPPORT OF
                MOTION TO REVOKE CONDITIONAL RELEASE ORDER

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion to

revoke the May 21, 2021 Conditional Release Order [ECF No. 12] and to detain the defendant

pending trial pursuant to 18 U.S.C. §§ 3142(f)(1)(E) of the federal bail statute. The government

requests that the following points and authorities, as well as any other facts, arguments and

authorities presented at the detention hearing, be considered in the Court’s determination regarding

pretrial detention.

                                             Introduction

        Travis Haney is a thirty-three year old male who has a serious and violent criminal history.

In 2009, Defendant was convicted in D.C. Superior Court of Assault With Intent to Kill While

Armed (Pistol) for the 2008 shooting of a civilian in broad daylight, during which he approached

and shot the victim nine times in front of a crowd of approximately 10 bystanders (Case No. 2008

CF3 5789). See Exhibit A (Government Sentencing Memorandum); Exhibit B (Plea Proffer). 1


1
 The verdict was affirmed on direct appeal, but was subsequently remanded on an ineffective assistance of
counsel issue. Rather than try the case again, the defendant entered a plea to the offense of Assault with
Intent to Kill (the plea was pursuant to Rule 11).
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        Defendant was on supervision for that violent, armed offense when he was arrested in May

of 2016 for the Unlawful Possession of a Firearm (and related charges) (Case No. 2016 CF2 7680).

See Exhibit C (Gerstein Affidavit for 2016 Arrest). The defendant was convicted of those charges

at trial in 2017; however, the D.C. Court of Appeals reversed after determining that the trial court

erred in ruling that the defendant had not established a prima facie case of discrimination under

Batson. That case remains pending; however, a new trial date has not yet been scheduled due to

the pandemic. While on supervision in both the 2008 case and the 2016 case, the defendant was

again arrested in July 2020 for the Distribution of a Controlled Substance – PCP (Case No. 2020

CF2 6070) and that case is also pending trial in D.C. Superior Court. See Exhibit D (Gerstein

Affidavit for 2020 Arrest).

        The defendant was on pretrial supervision in the two pending Superior Court cases (as well

as CSOSA supervision in the 2008 case) at the time of the instant arrest. The instant case was the

defendant’s third pending case. On September 29, 2020, a bench warrant was issued for the

defendant’s failure to appear at a pretrial show cause hearing in Case No. 2020 CF2 6070.

Defendant was arrested on May 11, 2021, on that outstanding arrest warrant and was in possession

of a firearm (that is the charged firearm in this case) at the time of his arrest.

        Defendant now finds himself charged by federal Indictment for the possession of another

loaded firearm (while on CSOSA supervision for a violent crime and while on pretrial release for

the Superior Court cases). Defendant is currently charged by Indictment with Unlawful Possession

of a Firearm and Ammunition by a Person Convicted of Crime Punishable by Imprisonment for a

Term Exceeding One Year, in violation of 18 U.S.C. § 922(g)(1).

        Only one week after the defendant’s conditional release in this case, the defendant was

arrested and charged by Information with Assault, in violation of 22 D.C. Code § 404, and

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Attempted Possession of a Prohibited Weapon, in violation of 22 D.C. Code §§ 4514(b) and 1803,

for allegedly assaulting another person at the location of his home detention for this case. See

Exhibit E (Gerstein Affidavit for May 28, 2021 Arrest) and Exhibit F (Information). The defendant

also allegedly pointed a firearm at the victim during the incident. See Exhibit E. The defendant

was detained at presentment for that case. As a result, the Pretrial Services Agency for the District

of Columbia filed a Pretrial Violation Report in this case on June 2, 2021 [ECF No. 13].

       Defendant’s previously poor track record on supervision – including (i) a number of re-

arrests that have occurred while on supervision, (ii) noncompliance with the terms of his

supervision, and (iii) his recent bench warrant history – further compounded by (iv) his recent

rearrest only one week after his conditional release in this case – demonstrate his inability to

comply with the release conditions previously ordered in this case, or any other release conditions

that the Court may impose. Despite being afforded the benefit of community supervision in his

Superior Court case, he has not attended court proceedings for his 2020 case and instead armed

himself with a loaded firearm. And despite being conditionally released into the High Intensity

Supervision Program in this case, the defendant allegedly possessed another firearm and threatened

another person with it before physically assaulting the person. For the reasons set forth below, the

government submits that Defendant’s conditional release should be revoked and Defendant should

be held without bond pending trial to ensure the safety of the community and his appearance at

future court hearings.

                         Procedural History and Applicable Authority

       On May 14, 2021, a federal grand jury returned an Indictment charging Defendant Haney

with one count of Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a

Crime Punishable by Imprisonment for a Term Exceeding One Year, in violation of 18 U.S.C.

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§ 922(g)(1), for the unlawful possession of a handgun and ammunition on May 11, 2021. 2 An

Arrest Warrant was also issued for Defendant, who was arrested on the warrant related to the

District Court indictment on May 19, 2021.

        On May 21, 2021, Judge Meriweather entered an Order Setting Conditions of Release for

the defendant in this case. [ECF No. 12.] The defendant was thereby released on a Personal

Recognizance Bond into the High Intensity Supervision Program (“HISP”) with home detention

utilizing GPS monitoring. The Order specified that the defendant must not “violate federal, state,

or local law while on release,” “possess a firearm,” and other conditions of his release.

        On May 28, 2021, the defendant was arrested by the Metropolitan Police Department for

threatening another person with a firearm, and then physically assaulting that person, at the same

residence as the defendant’s home detention in this case. On May 29, 2021, the defendant was

charged by Information with Assault, in violation of 22 D.C. Code § 404, and Attempted

Possession of a Prohibited Weapon, in violation of 22 D.C. Code §§ 4514(b) and 1803, in D.C.

Superior Court Case No. 2021 DVM 583. The defendant was detained at presentment on May 29,

2021, pursuant to 23 D.C. Code § 1322(a)(1)(A). The next status conference in that case is

currently scheduled for June 15, 2021.]

        The government orally moved to revoke the May 21, 2021 Conditional Release Order and

to detain the defendant pending trial pursuant to 18 U.S.C. §§ 3142(f)(1)(E) (involving firearm or

other dangerous weapon) of the federal bail statute.

        The government contends that the defendant is a danger to the community, as well as a

flight risk (due to his non-compliance with supervision and the September 2020 bench warrant


2
 The case was originally papered in D.C. Superior Court (Case No. 2021 CF2 2655); however, as he has
been indicted in District Court, that case will be dismissed. The defendant was released in Superior Court
at his presentment.
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issued for Defendant’s failure to appear). The government must establish by clear and convincing

evidence that a defendant is a danger to the community. United States v. Peralta, 849 F.2d 625,

626 (D.C. Cir. 1988). And the government must establish by preponderance of the evidence that a

defendant poses a risk of flight. United States v. Vortis, 785 F.2d 327, 328-29 (D.C. Cir. 1986). In

an indicted case at a detention hearing, the government may proffer evidence. United States v.

Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).

       There are four factors under Section 3142(g) that the Court should consider and weigh in

determining whether to revoke the defendant’s conditional release and detain the defendant

pending trial: (1) the nature and circumstances of the offense charged; (2) the weight of the

evidence against the defendant; (3) his history and characteristics; and (4) the nature and

seriousness of the danger to any person or the community that would be posed by his release. See

18 U.S.C. ' 3142(g). In light of the facts and circumstances in this case, the defendant’s history

and characteristics, and the defendant’s rearrest after only one week in HISP for this case, the

government asks that the Court conclude that there is no condition or combination of conditions

that would assure the safety of the community or the defendant’s appearance at future proceedings.

Therefore, Defendant Haney should be detained. See 18 U.S.C. ' 3142(e)(1).

                     Nature and Circumstances of the Offenses Charged

       On May 11, 2021, at approximately 1:20 pm, members of the U.S. Marshals Service

(USMS) were conducting surveillance in the 1300 block of Half Street SW, Washington, D.C.,

and the surrounding area in an attempt to locate Defendant Haney on an outstanding warrant.

Shortly after the Deputy U.S. Marshals arrived in the area, they observed Defendant Haney

walking towards First Street SW. The Deputy U.S. Marshals eventually located Defendant Haney

in a park at 201 N Street SW. The USMS then approached the defendant, stopped him, and placed

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him under arrest on three active warrants. The USMS conducted a pat down and limited search of

Defendant at that time, but did not initially identify or recover any weapons or contraband.

       The USMS requested additional backup and officers from the Metropolitan Police

Department’s (MPD) First District for assistance with booking Defendant at the First District. Prior

to turning Defendant over to MPD, Defendant began exhibiting nervous behavior. The USMS

asked Defended whether he was armed, to which Defendant replied, “I don’t have anything on

me.” MPD then asked the defendant whether he was armed and the defendant did not answer. In a

search of the defendant incident to his arrest on the warrant, the USMS and MPD recovered a black

Sig Sauer P250, .45 caliber firearm (Serial No. EAK202296), loaded with one round of

ammunition in the chamber and six rounds of ammunition in the magazine (with a total capacity

of 10 rounds), from inside of Defendant Haney’s front waistband. See Exhibit G (photograph of

firearm).

       As set forth above, the first factor, the nature and circumstances of the offense charged,

clearly weighs in favor of detention. Here, the defendant was illegally in possession of a loaded

firearm, in broad daylight, on a public street and park, in a residential neighborhood. The nature

of this offense therefore weighs in favor of detention.

                        Weight of the Evidence Against the Defendant

       The second factor to be considered, the weight of the evidence, also clearly weighs in favor

of detention. The evidence against the defendant is strong. As set forth above, law enforcement

recovered the loaded firearm from Defendant Haney’s front waistband when he was being arrested

by the USMS on multiple outstanding arrest warrants. Body-Worn Camera footage clearly shows

the firearm being removed from the defendant’s pants. There is no potential Fourth Amendment

challenge or other issue that defendant may argue that would weaken the evidence against him.

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Moreover, the firearm was loaded with one round of ammunition in the chamber and an additional

six rounds of ammunition in the magazine.

                        Defendant Haney’s History and Characteristics

       The third factor, the history and characteristics of the person, similarly weigh in favor of

detention. Defendant was previously convicted of Assault With Intent to Kill While Armed (Pistol)

in D.C. Superior Court, Case No. 2008 CF3 5789 3. The facts and circumstances of that offense are

very concerning:

       On March 10, 2008, at approximately 1:00 pm in the afternoon, Defendant approached a

42-year old woman who was standing outside of a corner market in Southwest, Washington, D.C.

Defendant walked out of an alley located next to the market, pulled up a ski mask, walked toward

the victim, and pulled out a .22 caliber firearm. As the victim tried to get away, Defendant fired

his gun, shooting the victim nine times. Defendant walked away, leaving the victim wounded in

the middle of the street. Perhaps even more brazen than this daylight shooting, Defendant did this

in front of approximately 10 bystanders who were outside in the area.

       Even more concerning, evidence in that case established that at least one reason why

Defendant targeted the victim was because she had provided information to law enforcement about

criminal activity in the area and/or because she had witnessed Defendant’s own criminal conduct

the night before the shooting. In addition, during an April 7, 2008 hearing in D.C. Superior Court

for that case, Defendant made a threatening gun gesture to a detective who was testifying against

him and then mouthed threatening words to him.


3 Pursuant to an October 19, 2020 Order, (attached as Exhibit H), the November 18, 2015 Judgement and
Commitment Order (attached as Exhibit I) was reinstated in place of a subsequent Judgement and
Commitment Order entered on June 9, 2017. Although the October 19, 2020 Order refers to the reinstated
Judgment and Conviction Order as dated as “November 15, 2018,” this is believed to be a typographical
error; there was no such order entered in the case in 2018.
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       Upon completing the period of incarceration in that case, on November 18, 2015,

Defendant Haney was placed on two years of supervision. Defendant’s probation was subsequently

revoked after his May 2016 arrest for the Unlawful Possession of a Firearm (and related charges)

in D.C. Superior Court, Case No. 2016 CF2 007680. Defendant was convicted at trial of the

unlawful possession of a firearm, but, as noted above, that conviction was reversed by the D.C.

Court of Appeals and is currently pending trial in D.C. Superior Court. Because that conviction

was reversed, the Court reinstated the original sentence for the 2008 Assault with Intent to Kill

case (undoing the revocation of his probation). Defendant’s post-conviction supervision remained

in effect as of the instant offense on May 11, 2021.

       In addition, Defendant was charged with Distribution of a Controlled Substance – PCP in

D.C. Superior Court on July 31, 2020. On September 10, 2020, the D.C. Pretrial Supervision

Agency filed a report alleging that Defendant Haney violated the conditions of his pretrial release

by failing to report as directed, which resulted in a loss of contact. The court scheduled an Order

to Show Cause hearing on September 29, 2020. Defendant failed to attend the hearing. As a result,

on September 29, 2020, the court issued a bench warrant for Defendant Haney’s failure to appear,

which remained open until his arrest by USMS on May 11, 2021.

       Most recently, Defendant was arrested on May 28, 2021 while on conditional release in

this case and charged in D.C. Superior Court with Assault and Attempted Possession of a

Prohibited Weapon, for allegedly assaulting a person at the location of his home detention, during

which he allegedly pointed a firearm at the victim.

       The fact that Defendant Haney unlawfully possessed a firearm while on probation for a

very serious and concerning 2009 conviction, coupled with his most recent charges and loss of

contact with the court and PSA in his more recent 2020 case, and further compounded by the

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violation of his conditional release in this case, all demonstrate that Defendant Haney cannot

comply with conditions of release in the community. Therefore, this factor weighs in favor of

detention pending trial in this case.

                                    Danger to the Community

         The fourth factor, the nature and seriousness of the danger to any person or the community

posed by Defendant’s release, also weighs in favor of detention. The charged offense involves

Defendant’s possession of a loaded firearm, despite being legally barred from such possession as

a convicted felon, and despite being on court supervision (both on probation and on pre-trial

supervision). The firearm that the defendant possessed had the potential to cause serious bodily

injury (or death) to members of the community, law enforcement, or to the defendant himself.

Indeed, Defendant did not reveal to the Marshals upon his arrest that he possessed a concealed and

loaded firearm in his waistband, which caused a potentially a dangerous situation for both law

enforcement and the defendant.

         Moreover, the defendant’s May 28, 2021 arrest involved his alleged assault of another

person, right before which the defendant allegedly pointed a handgun at the victim. Although MPD

did not recover a firearm at the scene, this incident is very concerning given the defendant’s

criminal history, the charge in this case, and the fact that the incident occurred only one week after

the defendant was on conditional release in HISP and subject to home detention at the very same

location as the incident. The defendant’s criminal history, history of non-compliance on

supervision, and now, his possession of a loaded firearm and subsequent rearrest while on

conditional release, overwhelmingly demonstrate that he is a danger to the community. This factor,

as with the three prior factors, weighs in favor of the defendant being held without bond pending

trial.

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   There are No Condition or Combination of Conditions that Would Ensure Defendant
      Haney’s Appearance or Compliance with Court-Ordered Release Conditions

        At the time of the instant offense, Defendant Haney was in violation of the terms of his

probation and pre-trial release (a warrant had been issued for his arrest). The recent offense conduct

– the possession of a loaded firearm – is particularly concerning given Defendant’s 2009

conviction. The fact that Defendant Haney obtained a loaded firearm further rebuts any argument

that he could be released in the community and be expected to comply with any release conditions.

        In addition, Defendant Haney also violated the terms of his conditional release in this case

within one week after his release. The May 28, 2021 incident occurred at the location that the

defendant was released to for HISP and home detention, and the victim reported that Defendant

Haney allegedly threatened him with a firearm.

        The defendant’s inability to comply with the terms of his probation and pre-trial release

strongly supports the government’s argument that he would continue circumvent the Court’s

efforts to reasonably control his behavior through conditions of release and keep the community

safe.




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                                           Conclusion

       The Court should grant the government=s motion to revoke Defendant Haney’s conditional

release and to detain Defendant Haney pending trial because he has demonstrated that he is a

danger to the community, as well as a risk of flight.



                                                        Respectfully submitted,

                                                        CHANNING D. PHILLIPS
                                                        Acting United States Attorney


                                              By:        /s/ Thomas G. Strong
                                                        Thomas G. Strong
                                                        NY Bar No. 4958658
                                                        Assistant United States Attorney
                                                        555 4th Street, N.W.
                                                        Washington, DC 20530
                                                        Phone: (202) 252-7063
                                                        Email: thomas.strong@usdoj.gov




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                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be served upon counsel of record
via the Electronic Case Filing (ECF) system on June 7, 2021.




                                            By:      /s/ Thomas G. Strong
                                                    Thomas G. Strong
                                                    NY Bar No. 4958658
                                                    Assistant United States Attorney
                                                    Federal Major Crimes Section
                                                    555 4th Street, N.W.
                                                    Washington, DC 20530
                                                    Phone: (202) 294-2403
                                                    Email: thomas.strong@usdoj.gov




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